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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

Plaintiffs,

         v.                                  Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants.



US DOMINION, INC., et al.,

Plaintiffs,

         v.                                  Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

         v.                                  Civil Action No. 1:21-cv-00445 (CJN)

MY PILLOW, INC., et al.,

Defendants/Counter-Plaintiffs, and
Third-Party Plaintiffs,

         v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.



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US DOMINION, INC., et al.,

Plaintiffs,

         v.                                             Civil Action No. 1:21-cv-02131 (CJN)

PATRICK BYRNE,

Defendant.



US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

         v.                                             Civil Action No. 1:21-cv-02130 (CJN)

HERRING NETWORKS, INC., et al.,

Defendants/Counter-Plaintiffs, and
Third-Party Plaintiffs,

         v.

AT&T SERVICES., et al.,

Third-Party Defendants.


                      ORDER REGARDING DISCOVERY MATTERS

        On August 20, 2024, the Court directed the parties 1 in the above-captioned cases to submit

a Final Discovery Protocol for the handling of electronic discovery and certain other discovery




1
 Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems
Corporation (“Dominion”), and Defendants Sidney Powell, Sidney Powell, P.C., Defending the
Republic, Inc., Rudolph W. Giuliani, Michael J. Lindell, My Pillow, Inc., Patrick Byrne, Herring
Networks, Inc. d/b/a One America News Network, Charles Herring, Robert Herring, Sr., Chanel
Rion, and Christina Bobb (“Defendants”), are collectively referred to herein as “the parties.”
However, Defendant Patrick Byrne was not involved in the preparation of this Order. This Order
does not cover any Third-Party Defendant in the captioned cases.
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matters incorporating the Court’s oral rulings.2 It is hereby ORDERED as follows:

       1.      Protocol for Production of Electronically Stored Information and Paper
               Documents

       By agreement of the parties, electronically stored information (“ESI”) and hard copy paper

documents (which may be scanned and produced) shall be produced in accordance with the

applicable provisions of the Federal Rules of Civil Procedure and the protocol attached hereto as

Exhibit 1, with certain exceptions that may be separately negotiated. 3 This protocol governs the

production of all documents and information by the parties in these cases, including both custodial

and non-custodial documents and information.

       2.      Stipulation Regarding Expert Discovery

       By agreement of the parties, expert discovery shall be conducted in accordance with the

applicable provisions of the Federal Rules of Civil Procedure subject to the stipulation attached

hereto as Exhibit 2. This stipulation applies to all testifying experts designated by the parties in

these cases, including both affirmative and rebuttal experts.

       3.      Scope of Discovery

               (a)     Date Range

       Unless otherwise agreed by the parties or ordered by the Court, the following time periods

for the production of communications and documents apply:

       •    Custodial e-mails and documents: January 1, 2020 to December 31, 2021

       •    Non-email electronic communications: September 1, 2020 to April 30, 2021*


2
  Pursuant to the Court’s direction, the parties met, conferred, and reached agreement on the
language that should be included in this Final Discovery Protocol to conform to the Court’s August
20, 2024, oral rulings. However, Plaintiffs respectfully reserve all rights to appeal the substance
of this Order to the extent it reflects adverse rulings issued by the Court regarding the Plaintiffs’
proposed discovery protocol.
3
  DTR has not agreed to provide load files for non-email documents, which Dominion continues
to request. DTR and Dominion will continue negotiating on this issue.
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               o *The time period for document production of non-email electronic

                     communications for OAN and Byrne is September 1, 2020 to August 31, 2021

       •    Noncustodial documents: January 1, 2020 to December 31, 2021 or as otherwise

            stated in discovery responses or agreed through the meet and confer process.

       The parties are free to work with each other on a case-by-case basis to reach agreement on

additional or modified time periods.

       4.      Determining Locations of Responsive Custodial Documents

               (a)      List of Custodians

       The parties have identified certain individuals who at least one party expects to have

generated or maintained discoverable information—whether ESI or in paper form.                  These

individuals are identified in the list of agreed custodians attached as Exhibit 3, along with a

specific party. The inclusion of a custodian in this list does not necessarily mean that the identified

party has possession, custody, or control of documents for the individual. Nor does it mean that

the identified party will conduct a custodian interview of the individual or produce his or her

documents, or that a party agrees the individual is likely to have generated or maintained

discoverable information. The parties nonetheless agree to reasonably attempt to include said

individuals as part of their preservation, collection, and search efforts for likely discoverable

information as appropriate and as possible. Each party reserves the right to seek discovery from

other custodians or other sources as discovery develops.

               (b)      Custodian Interview Process

       To the extent such interviews have not already been conducted, all parties must conduct

custodian interviews to determine where each custodian may have possession, custody, or control

of discoverable information, as understood by FRCP 26(b)(1). The parties agree to conduct

custodian interviews of individuals associated with them in the list of custodians at Exhibit 3 who

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are reasonably available for interview by the party (which at minimum includes all current

employees). Pursuant to the Federal Rules of Civil Procedure and local rules of the Court, the party

will explain what “possession, custody, or control” means and ask each custodian questions

calculated to ascertain their knowledge concerning the likely location of any information relevant

to the claims and defenses asserted in that party’s particular case or cases. The parties’ interviews

will include asking (1) whether the custodian communicated with anyone about relevant topics on

any application, otherwise known as “Apps,” that the person regularly used to communicate during

the time period identified in Section 3 concerning non-email communications and (2) where the

custodian may have stored non-email custodial documents or information relevant to the litigation

that would not be duplicated in the party’s own documents.

       The parties shall complete their respective custodian interviews no later than 21 days after

entry of this Order and shall confirm in writing to all parties whether the interviews have been

completed. The parties shall also disclose the sources of ESI (including Apps) they are searching

for each custodian.

               (c)     Searches Based on Custodian Interviews

       Absent agreement, the parties shall search the Apps identified by the custodian identified

in response to (b)(1) for communications related to the litigation. The parties shall also search any

locations identified in response to (b)(2) above for any documents related to the litigation.

       5.      Search Methodology

       A producing party shall disclose to the requesting party the method it intends to use to

locate the ESI it will review for responsiveness and relevancy. Such disclosure shall occur before

the producing party implements its intended method, so that the parties can resolve any disputes

regarding the adequacy of the search methodology in advance.

       The producing party may locate the potentially responsive ESI using a linear (manual)

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review or any other method reasonably expected to identify the ESI that is responsive to pending

discovery requests. No party is using Technology Assisted Review (“TAR”).

       As of the date of this Order, some of the parties have exchanged search queries for the

producing party’s use. Where search queries are used, the parties shall try to reach agreement on

appropriate search queries and bring any disagreements to the Court for resolution. Absent

agreement on search queries, the producing party shall disclose what search queries, if any, were

used to locate ESI, and the parties shall confer in good faith on additional queries as necessary. If

search queries are not used, the producing party shall disclose to the requesting party the search

methodology used to locate the ESI it will review for responsiveness.

       6.      Responsiveness Review

       A producing party is obligated to produce only those documents or ESI that are responsive

to a pending discovery request in accordance with FRCP 26 and 34. If queries and custodians are

used to locate potentially responsive documents or ESI, a producing party is required to conduct a

responsiveness review pursuant to FRCP 26 and 34 before producing documents to ensure that

only documents that are actually responsive to a pending request for production are produced. The

use of search queries is only a means by which the universe of documents needing responsiveness

review can be reduced, but it is not a substitute for such responsiveness review, or any other

requirement in the Federal Rules of Civil Procedure. When a party has timely raised a specific

objection to a request for production, that party shall not be required to produce any documents or

ESI in response to that particular request for production until its specific objections are resolved

by agreement or by the Court.

       7.      Unique Terms Concerning the Review and Production of Custodial Text
               Messages and Other Non-Email Communications

       With respect to custodial text messages and other non-email electronic communications,


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including but not limited to those sent via instant messenger services, or third-party or other

ephemeral messaging applications, the following terms shall apply except as otherwise agreed by

the parties:

                      (i)     Dominion and Defendants will use the same search methodology as

               that disclosed by the producing party to the requesting party pursuant to Paragraph

               5 to locate ESI it will review for responsiveness per FRCP 26 and 34.

                      (ii)    The parties will conduct a responsiveness review pursuant to

               Paragraph 6.

                      (iii)   The time frame for custodial text messages and other non-email

               communications is set forth above in paragraph 3(a).

                      (iv)    If search queries are used by the producing party to locate the

               custodial text messages and other non-email communications that the producing

               party will review for responsiveness, such search terms shall be run across the entire

               agreed-to time period identified above for each applicable custodian likely to have

               discoverable information, to include, where appropriate and possible, each agreed

               custodian identified in Exhibit 3.

                      (v)     If a custodial text message or other non-email communication is

               identified by a search query, the producing party shall review the remainder of the

               message chain for a 24-hour period, meaning between 12:00 am and 11:59 pm on

               the day that the search query appears. And if the content of the 24-hour period

               communication is responsive to the requesting party’s pending discovery request,

               the producing party shall produce all responsive, nonprivileged and nonprotected

               portions of that 24-hour period communication.



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                        (vi)    Where necessary, the parties shall work together in good faith to

                provide additional context for a conversation that appears over multiple days. The

                parties shall likewise work together in good faith to identify any text message

                threads that should be reviewed without exclusive reliance on search terms.

        8.      Production and Timing

                (a)     Organizing Documents and ESI for Production

        A party’s production must comply with FRCP 34(b)(2)(E)(i), meaning a producing party

must produce responsive documents and ESI as they are kept in the usual course of business or

must organize and label them to correspond to the categories in the requesting party’s pending

discovery requests. ESI is considered to be produced in the manner in which it is kept in the usual

course of business when the ESI contains or is accompanied by original file path metadata.

                (b)     Rolling Productions

        The parties agree to cooperate with respect to a producing party’s request for additional

time to produce documents in response to discovery requests and specifically agree that rolling

productions are in all parties’ best interests. To help save time and cost of related productions, the

parties agree that a requesting party may identify a subset of discovery requests that it wishes the

producing party to prioritize, and the producing party agrees to make reasonable efforts to focus

its production efforts on those higher priority issues first.

                (c)     Supplemental Productions

        The parties shall supplement discovery responses as required by FRCP 26(e).

        9.      Post-Production Privilege Log

        The parties agree to serve a privilege log identifying all documents, including

communications by text messages or other applications, that the producing party either redacted

or withheld from the production due to attorney-client privileged or work product protected content

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or any other privilege. The privilege log shall comply with FRCP 26(b)(5), or be produced in a

manner otherwise agreed to by the parties. Deadlines for supplemental or amended privilege logs

will be agreed upon by the parties. The parties also agree to the provisions set forth in Exhibit 1

governing the content and production of privilege logs.

       10.     Relief from and Modifications of this Order

       Any party may obtain relief from any portion of this Order through the written consent of

the affected parties or through a subsequent court order. A party may not seek relief from the

Court unless that party has conferred in good faith with the opposing party. When conferring about

a proposed modification of this Order, the parties shall act consistent with the FRCP 1 mandate to

seek the just, speedy, and inexpensive determination of litigation, as well as guiding controlling

principles of FRCP 26(b)(1), FRCP 26(g)(1)(B)(ii), and FRCP 26(g)(1)(B)(iii).

                                         *      *         *




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      IT IS SO ORDERED.

Date: September 16, 2024                 ___________________________
                                         HON. MOXILA A. UPADHYAYA
                                         United States Magistrate Judge




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